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The	Employment	Law	Firm	
Cynthia	L.	Pollick,	LLM	            	            	           	           	           	           	           Attorney	for	Plaintiff	
I.D.	No.:	83826	
363	Laurel	Street	
Pittston,	PA	18640	
(570)	654‐9675	
_____________________________________________________________________________________________________________________________________________________________	
	
                              IN	THE	UNITED	STATES	DISTRICT	COURT	
                            FOR	THE	MIDDLE	DISTRICT	OF	PENNSYLVANIA	
	
SUZANNE	F.	TIELLE	 	    	                                                :	
	    	     	     	 	    	                                                :	         		
	    Plaintiff	  	 	    	                                                :														JURY	TRIAL	DEMANDED	
	    	     	     	 	    	                                                :	         		
	    v.	   	     	 	    	                                                :	
	    	     	     	 	    	                                                :	         				
THE	NUTRITION	GROUP	D/B/A	                                               :	
NUTRITION,	INC.			 	    	                                                :			       	      DOCKET	NO:					
		   	     	     	 	    	                                                :	         	      	
     Defendant		 	 	    	                                                :	          	     	
     	
                                      COMPLAINT	
                                          	
	           NOW	come	the	Plaintiff,	SUZANNE	F.	TIELLE,	by	her	attorney,	Cynthia	L.	

Pollick,	Esquire,	and	file	the	following	Complaint	against	Defendant	and	avers	

as	follows:	

                                                                     PARTIES	

            1.          Plaintiff,	 SUZANNE	 F.	 TIELLE,	 was	 an	 employee	 of	 The	 Nutrition	

Group	for	the	last	six	years	and	worked	as	a	cook	and	manager.	On	or	about	

November	7,	2016,	Plaintiff	was	terminated	because	of	her	disability.	

            2.          Plaintiff	worked	at	the	Old	Forge	School	District	for	32	years.	




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      3.       Defendant,	 The	 Nutrition	 Group	 d/b/a	 Nutrition,	 Inc,	 has	 a	

principal	office	at	580	Wendel	Road,	Suite	100,	Irwin	Pennsylvania.	

                                     JURSIDICTION	

      4.       This	 suit	 is	 brought	 and	 jurisdiction	 lies	 based	 on	 a	 federal	

question.		28	U.S.C.	§	1331.		Jurisdiction	lies	pursuant	to	the	Americans	with	

Disabilities	Act,	as	amended	(ADAAA).		

      5.       	The	 unlawful	 employment	 practices	 described	 in	 this	 Complaint	

have	 been	 committed	 in	 the	 Middle	 District	 of	 Pennsylvania	 and	 the	

Defendant	does	business	in	this	District.	

      6.       Plaintiff	has	exhausted	her	administrative	remedies	in	good	faith	

for	all	claims	and	has	received	a	Right‐to‐Sue	letter.	

                                  COUNT	I		
      VIOLATION	OF	AMERICANS	WITH	DISABILITIES	ACT	(ADAAA)	
              DISABILITY	DISCRIMINATION/FAILURE	TO	
                      ACCOMMODATE/RETALIATION	
                        PLAINTIFF	V.	DEFENDANT		
                                      	
      7.  Plaintiff	 hereby	 incorporate	 by	 reference	 paragraphs	 one	 (1)	

through	six	(6)	as	if	set	forth	herein	at	length.		

      8.       Plaintiff	 has	 the	 medical	 condition	 of	 an	 injured	 knee,	 which	 has	

been	recognized	as	a	legal	handicap.	

      9.       Defendant	knew	Plaintiff	had	a	disability,	and/or	had	a	record	of	

impairment,	and/or	regarded	her	as	disabled.	


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      10.    At	all	times,	Plaintiff	could	perform	the	essential	functions	of	her	

position	with	accommodations.	

      11.    Plaintiff	would	use	a	cart	to	complete	her	work	duties.	

      12.    In	 June	 2015,	 Manager	 Patty	 Barrese	 asked	 Plaintiff	 if	 she	 was	

coming	 back	 for	 the	 Fall	 school	 term,	 to	 which	 Plaintiff	 replied	 “yes,	 why?”.		

Manager	Barrese	stated	to	Plaintiff	“because	of	your	knee”.	Manager	Barrese	

told	Plaintiff	to,	“think	it	over	the	summer	but	when	you	come	back	you	better	

be	able	to	get	your	own	things	and	walk	better”.		Plaintiff	responded	“this	is	as	

good	as	it	gets”.	

      13.    On	November	6,	2016,	Manager	Barrese	stated	that	Plaintiff	was	a	

liability	and	that	she	was	nervous	about	allowing	her	to	work	that	day.	

      14.    Manager	 Barrese	 would	 berate	 Plaintiff	 for	 using	 a	 cart	 to	

complete	her	work	duties.	

      15.    Plaintiff	 told	 Manager	 Barrese	 that	 she	 contacted	 the	 office	 of	

American	with	Disabilities,	and	they	told	her	that	Plaintiff	was	to	be	supplied	

with	an	accommodation.	

      16.    Plaintiff	was	not	allowed	to	work	on	November	6,	2016,	and	she	

was	fired	on	November	7,	2016.	




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      17.   Plaintiff	 was	 never	 disciplined	 in	 her	 32	 years	 working	 at	 Old	

Forge	 School	 District,	 and	 had	 an	 outstanding	 relationship	 with	 her	 fellow	

workers	and	school	administrators.	

      18.   Plaintiff	 was	 never	 counseled	 to	 improve	 her	 performance	 and	

never	failed	to	meet	any	job	expectation.	

      19.   Plaintiff	had	an	outstanding	attendance	record.	

      20.   Plaintiff	 did	 not	 miss	 time	 because	 of	 her	 disability	 nor	 did	 she	

have	any	accidents	or	injuries	because	of	her	disability.	

      21.   Plaintiff’s	 disability	 never	 caused	 her	 to	 spill	 or	 waste	 food	

causing	monetary	loss	to	Defendant.	

      22.   Instead	 of	 allowing	 Plaintiff	 to	 use	 the	 cart	 as	 a	 reasonable	

accommodation,	Plaintiff	was	terminated.		

      23.   Defendant	failed	to	engage	in	an	interactive	process	to	provide	a	

reasonable	accommodation.	

      24.   Defendant	 did	 not	 act	 in	 good	 faith	 when	 Plaintiff	 requested	 a	

reasonable	accommodation	of	being	allowed	to	use	a	cart.	

      25.   Plaintiff	 was	 fired	 in	 direct	 retaliation	 for	 having	 requested	 a	

reasonable	 accommodation	 of	 being	 allowed	 to	 use	 a	 cart	 to	 complete	 her	

work	duties.		




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      WHEREFORE,	Plaintiff	seeks	all	remedies	available	pursuant	to	ADAAA	

including	but	not	limited	to	lost	wages,	front	pay,	attorney	fees	and	costs,	pre‐	

and	post‐	interest,	delay	damages,	punitive	damages,	reformation	of	Plaintiff’s	

employment	records,	letters	of	good	reference,	and	emotional	distress.	

	     A	jury	trial	is	demanded.	

	     	       	     	     	     	     By:	s/	Cynthia	L.	Pollick	
                                      Cynthia	L.	Pollick,	J.D.,	LLM.	
	     	       	     	     	     	     Pa.	I.D.	No.:	83826	
                                      363	Laurel	Street	
                                      Pittston,	PA	18640	
	     	       	     	     	     	     (570)	654‐9675	
	     	       	     	     	     	     pollick@lawyer.com	
		
                                         	




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